Case 2:08-cv-14792-RHC-MKM ECF No. 69 filed 11/07/18                    PageID.695       Page 1 of 1

                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


 TDC INTERNATIONAL CORP.,
                                                      FILE NO. 08-14792
                 Plaintiff,
                                                      HON.ROBERT L.CLELAND
 V

 JAE L. BURNHAM,


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                Defendants.


                                  SUGGESTION OF BANKRUPTCY

        Defendant, Jae Burnham, hereby files this notice that a Chapter 13 Bankruptcy petition was

filed on his behalf in the U.S. Bankruptcy Court, Western District of Michigan, on November 6, 2018.

The case number for the said Chapter 13 Bankruptcy case is 18-04690-swd. Pursuant to 11 U.S.C.

362, an automatic stay may �e in effect, pursuant to which any pending proceedings may be stayed,

subject to any exceptions set forth in the referenced Section. Whereas the undersigned counsel does

represent Jae Burnham in bankruptcy, she does not represent Mr. Burnham nor any other party in this

action. This pleading merely serves the limited purpose of advising the Court and parties below of the

aforementioned bankruptcy proceeding.

       Dated November 6, 2018                         Respectfully submitted,



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                                                      SAVAGE LEGAL GROUP, P.C.


                                                      Kimberly L. Savage (P68267)
                                                      1483 Haslett Road
                                                      Haslett, Michigan 48840
                                                      (517) 515-5000



                                    CERTIFICATE OF SERVICE

I certify that on November 7, 2018, I served the foregoing document, with all attachments, on counsel
of record, by electronic and/or ordinary mail.
